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                          Exhibit 2
     (Total Compensation and Expenses Requested)
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                                     Total Compensation and Expenses Requested

Professional Firm                      Category             Hours      Fees             Expenses      Total Billed
Stumphauzer Foslid Sloman Ross &
Kolaya, PLLC                           Attorneys             1,017.2      $313,440.00     $1,894.40       $315,334.40
Pietragallo Gordon Alfano Bosick &
Raspanti, LLP                          Attorneys             2,547.8      $580,899.50 $69,080.75          $649,980.25
Development Specialists, Inc.          Operations Consultant 3,239.5    $1,447,977.50 $11,102.26        $1,459,079.76
Lawgical Insight, LLC                  eDiscovery Specialist    90.6       $29,445.00  $5,142.55           $34,587.55
HD Investigative Group, LLC            Investigations Firm      26.0        $5,850.00      $0.00            $5,850.00
Fox Rothschild                         Attorneys                54.8       $21,286.00      $0.00           $21,286.00
                                                             6,557.8    $2,398,898.00 $87,219.96        $2,486,117.96
